         Case 1:21-cv-04173-AT-CCB Document 1-1 Filed 10/08/21
                                                       AT CCB 550Page 1 of 1
                                                                 42:1983pr




                               CIVIL COVER SHEET FOR A PRISONER CASE
            AT
JUDGE ____________________________                                            Atlanta
                                                                  DIVISION ____________________
               CCB
MAG. JUDGE _______________________                                IFP _____                   X
                                                                                       FEE _____
                 10/8/21
DATE FILED ________________________                               PREVIOUS CASES ______________

                    Timothy O'Neil
NAME _________________________________________        ID # _________________________
PRO SE ________________                             Mark  Begnauld
                                         ATTORNEY ________________________________
PLACE OF INCARCERATION ___________________________________________________________
CITY _______________________________    STATE________         COUNTY _______________


JURISD          NOS                CAUSE                          DESCRIPTION
  3             530             ___28:2254             Habeas action by a STATE prisoner challenging state
                                                       convictions or sentence.
  3             535             ___28:2254d            Habeas action by a STATE prisoner under a DEATH
                                                       sentence. _____SEND TO DISTRICT JUDGE.
  3             530             ___28:2241st           Habeas action by a STATE prisoner or detainee
                                                       challenging matters other than conviction or sentence
                                                       (e.g. parole revocation, loss of good time-credit, etc.)
  2             530             ___28:2241fd           Habeas action by a FEDERAL prisoner or detainee
                                                       challenging matters other than conviction or sentence
                                                       (e.g. parole revocation, loss of good time-credit, etc.)
                                  X
  3             550             ___42:1983pr           STATE or FEDERAL prisoner civil rights action suing
                                                       State officials not involving prison conditions.
                                                       A/K/A BIVENS action.
  2             550             ___28:1331pr           Prisoner civil rights action suing Federal officials not
                                                       Involving prison conditions. A/K/A BIVENS action.
  3             555             ___42:1983pr           STATE prisoner civil rights action involving prison
                                                       conditions.
  2             555             ___28:1331pr           Prisoner civil rights action suing Federal officials
                                                       Involving prison conditions. A/K/A Bivens action.
  2             540             ___28:1346             Prisoner Federal Tort Claim. (Against U.S.)
  2             540             ___28:1361pr           Action to compel U.S. officer to perform a duty
                                                       MANDAMUS.
   4            540             ___28:1332             Any prisoner action based on diversity.
  ___           540            ___ ______              OTHER: _____________________________________



______ DOCKET CLERK: Place cover sheet on top of docket sheet and file. FORWARD to Magistrate Judge
       Assigned for IFP and/or frivolity determinations.

______ STAFF LAW CLERK:
       ____Pauper’s affidavit insufficient or no affidavit
       ____Complaint or petition not signed or is incomplete
       ____No copies
       ____Other: ___________________________________________________________
